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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
      v.                                  ) Case No. 1:21-cr-118 (RCL)
                                          )
LISA MARIE EISENHART                      )
__________________________________________)


                DEFENDANT’S MOTION FOR MODIFICATION OF BOND

        NOW COMES Defendant Lisa Marie Eisenhart, by and through undersigned appointed

counsel, and with the consent of Ms. Eisenhart’s U.S. Pretrial Officer, hereby requests that her

conditions of bond be modified to remove her electronic (location) monitoring and curfew.

        U.S. Pretrial Officer Felicia White, who supervises Ms. Eisenhart at her current location,

advises undersigned counsel that her District routinely reviews Defendants at or near their six-

month point of supervision, to determine if a defendant who is in full compliance may warrant

removal of certain conditions. Ms. White recommends that both the electronic monitoring and

curfew condition on Ms. Eisenhart’s bond be eliminated. If this Court declines that suggestion,

Ms. White recommends that a curfew alone be kept. Beyond the cost and time savings to U.S.

Probation, Ms. Eisenhart would also benefit from a release that will better allow for exercise and

other routine activities of daily life.

        Accordingly, Ms. Eisenhart moves this Court to modify the conditions of her current

bond to remove the aforementioned conditions. AUSA Leslie Goemaat was contacted today

about this motion, but she has advised that the Government is not yet able, without further

evaluation, to state its position on these requested changes.




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Dated August 10, 2021                                Respectfully submitted,

                                             ___/s/_Gregory S. Smith______________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing is automatically being served upon all

counsel of record, via the Electronic Case Filing system.

       This 10th day of August, 2021.

                                             ___/s/_Gregory S. Smith______________
                                             Gregory S. Smith




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